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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             LUBBOCK DIVISION

STATE OF TEXAS; AMERICAN                    §
ASSOCIATION OF PRO-LIFE                     §
OBSTETRICIANS &                             §
GYNECOLOGISTS; and CHRISTIAN                §
MEDICAL & DENTAL                            §
ASSOCIATIONS,                               §
    Plaintiffs,                             §
                                            §   CIVIL ACTION NO. 5:22-CV-00185
v.                                          §
                                            §
XAVIER BECERRA, in his official             §
capacity as Secretary of Health and Human   §
Services; UNITED STATES                     §
DEPARTMENT OF HEALTH AND                    §
HUMAN SERVICES; CENTERS FOR                 §
MEDICARE & MEDICAID SERVICES                §
(CMS); KAREN L. TRITZ, in her official      §
capacity as Director of the Survey and      §
Operations Group for CMS; DAVID R.          §
WRIGHT, in his official capacity as         §
Director of the Quality Safety and          §
Oversight Group for CMS,                    §
       Defendants.                          §


                    PLAINTIFFS’ BRIEF IN SUPPORT OF
               MOTION FOR TEMPORARY RESTRAINING ORDER
                     AND PRELIMINARY INJUNCTION
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HHS Secretary Becerra talks women’s future with abortion following Roe v. Wade decision (NBC
 NEWS broadcast June 25, 2022) https://www.nbcnews.com/video/women-s-future-with-
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        The Biden Administration seeks to codify a right to abortion by rogue agency action that

requires hospitals and physicians to perform elective abortions in violation of Texas law.

Defendants’ unconstitutional Abortion Mandate, ostensibly issued under the Emergency Medical

Treatment and Labor Act (EMTALA), is already in effect. It requires doctors and hospitals to

choose between performing abortions in violation of State law, their consciences, and their medical

licenses, or complying with State law and caring for women as they always have and losing their

Medicare and Medicaid funding.

        Defendants’ novel Abortion Mandate is causing imminent and irreparable harm. Plaintiffs

respectfully request that the Court temporarily and preliminarily enjoin Defendants from enforcing

it in Texas and against members of the plaintiff associations AAPLOG and CMDA.

                                         I.      BACKGROUND

        On the same day the Supreme Court issued its decision in Dobbs v. Jackson Women’s Health

Org., 142 S. Ct. 2228 (2022), ending the era of Roe v. Wade, President Biden announced immediate

steps to counteract what he characterized as the Court’s “extreme decision.” 1 Dobbs returns the

issue of abortion to the States. Dobbs, 142 S. Ct. at 2279, 2284. Accordingly, Texas law governs

the regulation of abortion in Texas. But the Biden Administration has made its goal clear: to subvert

State laws that protect unborn life. 2


1 Remarks by President Biden on the Supreme Court Decision to Overturn Roe v. Wade, THE WHITE
HOUSE       (June      24,    2022),      https://www.whitehouse.gov/briefing-room/speeches-
remarks/2022/06/24/remarks-by-president-biden-on-the-supreme-court-decision-to-overturn-
roe-v-wade/; President Biden (@POTUS), Twitter (July 8, 2022, 11:39 AM),
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2 See, e.g., What They Are Saying: President Biden Signs Executive Order to Protect Access to
Reproductive    Healthcare  Services,    THE     WHITE     HOUSE      (July     8,    2022),


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A.      The Abortion Mandate

        On July 8, 2022, President Biden issued an Executive Order 3 that required HHS Secretary

Becerra to submit a report to the President “identifying steps to ensure that all patients—including

pregnant women and those experiencing pregnancy loss, such as miscarriages and ectopic

pregnancies—receive the full protections for emergency medical care afforded under the law,

including by considering updates to current guidance on obligations specific to emergency

conditions and stabilizing care under the Emergency Medical Treatment and Labor Act

[EMTALA], 42 U.S.C. §1395dd.” Id. at 42054.

        Four days later, President Biden announced HHS’s new mandate purporting to override

individual states’ abortion laws under the authority of EMTALA, 4 and the Centers for Medicare

and Medicaid Services (CMS) of HHS issued agency guidance to all State Directors entitled

“Reinforcement of EMTALA Obligations Specific to Patients who are Pregnant or are

Experiencing Pregnancy Loss” (EMTALA Guidance). 5 Additionally, Secretary Becerra issued a




https://www.whitehouse.gov/briefing-room/statements-releases/2022/07/08/what-they-are-
saying-president-biden-signs-executive-order-to-protect-access-to-reproductive-healthcare-
services/ (“This Executive Order builds on the actions his Administration has already taken to
defend reproductive rights by . . . [s]afeguarding access to reproductive health care services,
including abortion and contraception.”).
3 “Protecting Access to Reproductive Healthcare Services.” Exec. Order No. 14,076, 87 Fed. Reg.

42053 (2022), available at https://www.federalregister.gov/documents/2022/07/13/2022-
15138/protecting-access-to-reproductive-healthcare-services.
4    President    Biden   (@POTUS),              TWITTER        (July     12,   2022,   3:25   PM),
https://twitter.com/potus/?lang=en.
5Exh. 1, Appx. 002 Reinforcement of EMTALA Obligations specific to Patients who are Pregnant or are
Experiencing Pregnancy Loss, CENTERS FOR MEDICARE & MEDICAID SERVICES (July 11, 2022),
https://www.cms.gov/files/document/qso-20-15-hospital-cah-emtala-revised.pdf (last visited
Aug. 3, 2022).

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letter to providers 6 describing the guidance (together, the “Abortion Mandate”).

          While the EMTALA Guidance claims to simply remind hospitals of existing legal

obligations, 7 it does far more. It imposes unprecedented new requirements to provide abortions

that have never existed under federal law or EMTALA. The Abortion Mandate requires that a

provider perform an abortion if “abortion is the stabilizing treatment necessary to resolve [an

emergency medical condition],” which could encompass elective abortions such as in the case of

“incomplete medical abortion.” 8 This mandate is novel, unauthorized, and illegal.

          EMTALA does not mandate specific procedures. It is a provision of the Social Security Act

that ensures Medicare-participating hospitals stabilize patients with emergency medical conditions

regardless of the patient’s ability to pay. 42 U.S.C. § 1395dd. This is an “anti-dumping”

requirement. See Burditt v. U.S. Dept. of Health & Human Servs., 934 F.2d 1362, 1376 (5th Cir.

1991). In EMTALA, Congress did not impose a “national standard of care” or seek “to improve

the overall standard of medical care.” See, e.g., Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1258

(9th Cir. 1995). EMTALA requires only that hospitals stabilize indigent patients with the same

care afforded to other patients. See Marshall on Behalf of Marshall v. E. Carroll Par. Hosp. Serv.

Dist., 134 F.3d 319, 323–24 (5th Cir. 1998) (holding that an EMTALA violation, requires “that

the Hospital tread her differently from other patients”); see also Baber v. Hosp. Corp. of America,

977 F.2d 872, 878 (4th Cir. 1992) EMTALA only requires hospitals to apply their standard




6 Exh. 2 at Appx. 009 Letter to Health Care Providers, SECRETARY OF HEALTH AND HUMAN
SERVICES,     https://www.hhs.gov/sites/default/files/emergency-medical-care-letter-to-health-
care-providers.pdf (last visited Aug. 3, 2022).
7   Exh. 1 at Appx. 003.
8   Id. at Appx. 002, 007.

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screening procedure for identification of an emergency medical condition uniformly to all

patients”).

        Under EMTALA, the relevant issue is “whether the challenged procedure was identical to

that provided similarly situated patients, as opposed to whether the procedure was adequate as

judged by the medical profession.” Eberhardt, 62 F.3d at 1258. Indeed, “[a] hospital’s liability

under EMTALA is not based on whether the physician . . . failed to adhere to the appropriate

standard of care.” Battle ex rel. Battle v Mem’l Hosp. at Gulfport, 228 F.3d 544, 557 (5th Cir. 2000);

see also Guzman v. Mem’l Hermann Hosp. Sys., 637 F. Supp. 2d 464, 487 (S.D. Tex. 2009)

(Rosenthal, J.) (“EMTALA does not create a national standard of care and is not a medical

malpractice statute.”). EMTALA confers no right to any specific treatment and does not operate

as federal oversight on the practice of medicine.

        EMTALA requires stabilizing patients in an “emergency medical condition,” which

includes “a medical condition manifesting itself by acute symptoms of sufficient severity

(including severe pain), such that the absence of immediate medical attention could reasonably be

expected to result in–(i) placing the health of the individual (or, with respect to a pregnant woman,

the health of the woman or her unborn child) in serious jeopardy, (ii) serious impairment to bodily

functions, or (iii) serious dysfunction of any bodily function or part.” 42 U.S.C.

§ 1395dd(e)(1)(A). “To stabilize” means “to provide such medical treatment of the condition as

may be necessary to assure, within reasonable medical probability, that no material deterioration

of the condition is likely to result from or occur during the transfer of the individual from a facility.”

42 U.S.C. § 1395dd(e)(3).




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          EMTALA does not specify what treatment to provide, much less authorize an Abortion

Mandate. Notably, EMTALA requires stabilizing “the unborn child,” id. at 1395dd(c), (e), as do

CMS rules. 42 C.F.R. § 489.24. By leaving standards of care to State law, Congress imposed a

presumption against preemption of State law under EMTALA, unless a State requirement

“directly conflicts with a requirement of this section.” Id. at § 1395dd(f). The Social Security Act

reiterates that “[n]othing in this subchapter [which includes § 1395dd] shall be construed to

authorize any Federal officer or employee to exercise any supervision or control over the practice

of medicine or the manner in which medical services are provided . . . or to exercise any supervision

or control over the administration or operation of any such institution, agency, or person [providing

health services].” 42 U.S.C. § 1395. Further, EMTALA’s enforcement provisions show that State

law sets the standard of care by specifying that a private suit for violating EMTALA will be subject

to “the law of the State in which the hospital is located.” 42 U.S.C. § 1395dd(d)(2) (emphasis

added).

          But the Biden administration has chosen to weaponize EMTALA to mandate abortions as

a politicized reaction to the Dobbs decision. The Biden Administration has already filed suit against

the State of Idaho, asserting that EMTALA requires the State’s hospitals to provide abortions

when the mother’s “health”—but not her life—is at risk. 9 The Abortion Mandate’s penalties

include civil fines of over $119,000 per violation. 10 The Abortion Mandate threatens to terminate




9   United States v. Idaho, No. 1:22-cv-329 (D. Idaho Aug. 2, 2022).
10   Ex. 1 at Appx. 005-007.

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hospitals’ Medicare provider agreements and exclude them from State health care programs,

which include Medicaid, CHIP, and certain block grants. 11

          This represents a significant amount of funding. Texas hospitals and physicians receive

approximately $15.98 billion per year from the federal government in the form of reimbursements

for services under Medicaid alone. 12 Texas Tech University System operates Texas Tech

University Health Science Center and Texas Tech University Health Science Center El Paso, both

of which are State of Texas institutions of higher education. 13 Those institutions received almost

$149 million in Medicare and Medicaid funding since September 1, 2021 through August 2,

2022. 14 Under the Abortion Mandate, individual physicians and hospitals must risk these fines and

exclusions, unless they violate their religious and conscience rights and risk prosecution under

state abortion laws. An injunction from this Court is necessary to prevent these imminent and

irreparable harms.

B.        The Mandate Infringes on Texas’s Abortion Laws and Physicians’ Consciences

          The Abortion Mandate injures Texas because it purports to preempt Texas laws. 15 First,

the Human Life Protection Act states that “[a] person may not knowingly perform, induce, or

attempt an abortion.” Act of May 25, 2021, 87th Leg., R.S., ch. 800, § 2, 2021 Tex. Sess. Law



11Id. at Appx. 005-007; 42 U.S.C. § 1395dd(d)(1); 42 U.S.C. § 1320a-7(h) (defining State health
care programs); see also 1 Tex. Admin. Code § 354.1077(a) (requiring that a hospital must be
“enrolled and participating in the Medicare Program as a hospital” to “qualify for participation as
a hospital in the Texas Medical Assistance (Medicaid) Program”).
12   Exh. 3 at Appx. 012 (Declaration of Victoria Grady).
13   Exh. 9 at Appx. 038 (Declaration of Eric Bentley).
14   Id. at Appx. 039.
15Exh. 1 at Appx. 002. And the Federal Government has represented to the federal Court in Idaho
that it does. See United States v. Idaho, No. 1:22-cv-329.

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Serv. 1887 (H.B. 1280) (effective Aug. 25, 2022) (to be codified at Tex. Health & Safety Code Ch.

170A). The penalty for violating the HLPA includes two years to life in prison and a fine of not less

than $100,000. Id. (to be codified at Tex. Health & Safety Code §§170A.004–.005); Tex. Penal

Code §§ 12.32–.33. That prohibition contains an exception where the woman “has a life-

threatening physical condition” arising from a pregnancy that places her “at risk of death or poses

a serious risk of substantial impairment of a major bodily function unless the abortion is

performed.” H.B. 1280 at § 2 (to be codified at Tex. Health & Safety Code § 170A.002(b)(2)).

The Human Life Protection Act is effective on the thirtieth-day after the issuance of a United

States Supreme Court judgment in a decision overruling Roe v. Wade. H.B. 1280 at § 3(1)—which

has already occurred. No further action by the Texas Legislature or any state official is required.

Accordingly, it will become effective on August 25, 2022.

        In addition to the Human Life Protection Act, Texas has current laws predating Roe that

address the subject of abortion. See Tex. Rev. Civ. Stat. arts. 4512.1–.4, .6 (2010) (former Tex.

Penal Code arts. 1191–1194, 1196 (1925)). Under those statutes, any person who causes an

abortion is guilty of an offense and shall be confined in a penitentiary. Id. at 4512.1. Moreover, an

individual may not act as an accomplice to abortion or an attempted abortion. Id. at 4512.2–.3.

However, it is not on offense if the abortion is performed under “medical advice for the purpose

of saving the life of the mother.” Id. at 4512.6.

        In Texas, if a physician “commits an act that violates any state or federal law . . . connected

with the physician’s practice of medicine,” Tex. Occ. Code § 164.053(a)(1), the Texas Medical

Board may revoke or suspend the physician’s license. Tex. Occ. Code § 164.001; Tex. Occ. Code




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§ 164.052(a)(5). Accordingly, if Texas physicians violate State law by providing abortions when

the life of the mother is not in danger, they risk losing their licenses. 16

         The Abortion Mandate also tramples on the statutory religious and conscience rights of

members of plaintiff physician groups the American Association of Pro-Life Obstetricians and

Gynecologists (AAPLOG) and the Christian Medical and Dental Associations (CMDA), who

practice in Texas and in states nationwide. The Abortion Mandate directly violates federal laws

such as 42 U.S.C. § 238n, which prohibits the federal government from requiring a physician to

perform an abortion, and the Religious Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb–

2000bb-4, which restricts the federal government from substantially burdening the religious beliefs

of physicians. Texas also protects the conscience right of physicians to object to performing

abortions, Tex. Occ. Code § 103.001, and EMTALA does not authorize Defendants to preempt

that law.

                                           II.     ARGUMENT

         A plaintiff seeking a temporary restraining order or preliminary injunction must establish

(1) that it is likely to succeed on the merits of its claims, (2) “that he is likely to suffer irreparable

harm in the absence of preliminary relief,” (3) “that the balance of equities tips in his favor,” and

(4) “that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

20 (2008). The standards for securing a temporary restraining order or preliminary injunction are




16Moreover, Texas law explicitly provides that the removal of an ectopic pregnancy or a dead,
unborn child is not an abortion. Under Texas Health and Safety Code § 245.002, “[a]n act is not
an abortion if the act is done with the intent to: (A) save the life or preserve the health of an unborn
child; (B) remove a dead, unborn child whose death was caused by spontaneous abortion; or (C)
remove an ectopic pregnancy.” If, for example, “stabilizing treatment” means treating an ectopic
pregnancy, that is not a violation of Texas law.

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substantively the same. Clark v. Richard, 812 F.2d 991, 993 (5th Cir. 1987); Texas v. United States,

524 F. Supp. 3d 598, 651 (S.D. Tex. 2021). To preserve the status quo, federal courts have

regularly enjoined federal agencies from implementing and enforcing new regulations pending

litigation challenging them. See, e.g., Texas v. United States, 787 F.3d 733 (5th Cir. 2015) (enjoining

executive order inconsistent with immigration statutes); Texas, 524 F. Supp. 3d at 667.

A.      Texas and the Medical Groups are likely to succeed on the merits of their claims.

        Agency rules and guidance are subject to judicial review. See Texas v. EEOC, 933 F.3d 433,

441 (5th Cir. 2019); see also Coliseum Square Ass’n, Inc. v. Jackson, 465 F.3d 215, 232 (5th Cir.

2006); Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1324 (D.C. Cir. 1996). Plaintiffs

challenge the Abortion Mandate on both statutory and constitutional grounds and are likely to

succeed on the merits of their claims because the Abortion Mandate is unlawful. First, Defendants

acted ultra vires in promulgating the Mandate. Second, the Abortion Mandate violates the

Administrative Procedure Act (APA) and is contrary to law. Finally, the Abortion Mandate

violates the United States Constitution.

     1. Defendants acted ultra vires in issuing the Abortion Mandate.

        The Social Security Act contemplates limited rulemaking. The Secretary of HHS is

authorized to prescribe only those regulations as are “necessary to carry out the administration of

the insurance programs under this subchapter.” 42 U.S.C. § 1395hh(a)(1) (emphasis added). That

the “administration” of EMTALA would mandate abortions is belied by the very text of the

statute. EMTALA recognizes and protects the unborn child in the context of an emergency

medical condition. See 42 U.S.C. § 1395dd(e)(1)(A)(i); Id. at § 1395dd(e)(1)(B)(ii). EMTALA

requires Medicare-participating hospitals to consider and “minimize[] the risk to . . . the health of

the unborn child” when transferring the mother to another medical facility. Id. at

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§ 1395dd(c)(2)(A). A requirement that physicians abort unborn children cuts squarely against this

express command. No one disputes that, in some tragic cases, stabilizing treatment may result in

the death of an unborn child—such as the treatment of an ectopic pregnancy. 17 But those cases

have never justified an abortion mandate under EMTALA—that statute protects the “unborn

child,” does not impose a standard of care, and imposes a presumption against preempting state

laws, including laws regulating abortion and protecting rights of conscience.

          EMTALA’s recognition and protection of unborn life demonstrates that Congress did not

confer any authority to mandate abortions, much less “direct” preemption of Texas law. And at

the very least, EMTALA’s language protecting the unborn demonstrates that Congress could not

have intended that abortion would constitute “stabilizing treatment” for any situation other than

when the life of the mother is at risk. Defendants cannot accomplish through administrative action

something they are prohibited from doing by statute. See, e.g., BST Holdings, LLC v. Occupational

Safety & Health Admin., 17 F.4th 604, 611–12 (5th Cir. 2021).

          EMTALA’s recognition and protection of unborn life is consistent with other federal laws.

The Hyde Amendment prohibits federal funds from being used to pay for abortions except in ses

of rape, incest, or a threat to the life of the mother. Consolidated Appropriations Act, 2022, Pub.

L. No. 117-103, Div. H., Tit. V, §§ 506–07. The Weldon Amendment prohibits federal agencies

from discriminating against any institutional or individual health care entity “on the basis that the

health care entity does not provide, pay for, provide coverage of, or refer for abortions.” Id. The

Coats-Snowe Amendment (enacted in 1996) prohibits “[t]he Federal Government” from

discriminating against any health care entity on the basis that it refuses to perform induced



17   See Exh. 4 at Appx. 019.

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abortions or to provide referrals for such abortions. 42 U.S.C. § 238n. The Church Amendments

prohibit recipients of funds from HHS from discriminating against personnel because they refuse

to perform or assist an abortion based on their religious or moral beliefs, and say an individual in

an HHS funded health or research program cannot be forced to perform or assist in procedures

contrary to his religious or moral beliefs. 42 U.S.C. § 300a-7(c) & (d). There is no evidence

Congress intended to override these abortion conscience statutes—two of which were enacted

after EMTALA—when EMTALA requires stabilizing the “unborn child.”

          Defendants lack statutory authority to promulgate the Abortion Mandate requiring

Medicare-participating hospitals and their physicians to provide access to—and perform—

abortions. The EMTALA Guidance includes a number of provisions that have never been part of

EMTALA. The EMTALA Guidance claims that “[w]hen a state law prohibits abortion and does

not include an exception for the life of the pregnant person—or draws the exception more narrowly

than EMTALA’s emergency medical condition definition—that state law is preempted.” 18 This

has never been part of EMTALA. To the contrary, EMTALA “do[es] not preempt any State or

local law requirement, except to the extent that the requirement directly conflicts with a

requirement of [EMTALA].” 42 U.S.C. § 1395dd(f).

          The health conditions in which the EMTALA Guidance purports to require abortions are

far broader than the life of the mother exception found in Texas laws concerning abortion or the

federal Hyde Amendment, but instead include undefined “health” conditions of a pregnant

woman, including situations such as “incomplete medical abortions,” and situations that do not




18   Exh 1 at Appx. 002-003 (emphasis in original).

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presently threaten the life of the mother but are “likely . . . to become emergent.” 19 The EMTALA

Guidance further specifies that “an emergency medical condition that has not been stabilized” can

include “a patient with an incomplete medical abortion,” and that the sorts of abortion that

EMTALA can require include “methotrexate therapy” or “dilation and curettage.” 20 Thus the

EMTALA Guidance attempts to force hospitals and physicians to complete chemical abortions

that began elsewhere—even illegally—even when the mother’s life is not at risk. 21

          EMTALA does not authorize the promulgation of rules mandating certain procedures.

Even if it did, the EMTALA Guidance was not issued by persons with statutory authority to do so.

The Social Security Act authorizes the Secretary of HHS to “prescribe such regulations as may be

necessary to carry out the administration of the insurance programs under this subchapter.” 42

U.S.C. § 1395hh(a)(1); 42 U.S.C. § 1301(a)(6). Indeed, the Act stipulates that “[n]o rule,

requirement, or other statement of policy . . . that establishes or changes a substantive legal

standard governing the scope of benefits, the payments for services, or the eligibility of individuals,

entities, or organizations to furnish or receive services or benefits . . . shall take effect unless it is

promulgated by the Secretary [of HHS].” 42 U.S.C. § 1395hh(2). But, here, the Guidance was

issued by the Director of the Survey & Operations Group of CMS and the Director of the Quality,

Safety & Oversight Group of CMS. 22

          Defendants’ attempt to impose the Abortion Mandate (without regard to State law) is a

question of deep economic and political significance, and Congress did not intend—nor does



19   Exh. 1 at Appx. 002,007.
20   Id. at Appx. 006.
21   See Exh. 4 at Appx. 018, 020 (Declaration of Donna Harrison, M.D.).
22
     Exh. 1 at Appx. 007.

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EMTALA allow—Defendants to exercise such broad authority in the absence of clear and explicit

congressional authorization. See Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (holding

that Congress must “speak clearly if it wishes to assign . . . decisions of vast economic and political

significance.”). “Whatever power the United States Constitution envisions for the

Executive . . . it most assuredly envisions a role for all three branches when individual liberties are

at stake.” Hamdi v. Rumsfeld, 542 U.S. 507, 536 (2004). This is particularly significant here where

the Abortion Mandate requires Texas hospitals to perform abortions in violation of State law.

        EMTALA does not authorize Defendants to achieve their social policy objectives through

the Abortion Mandate. Defendants exceeded their statutory authority and acted ultra vires in

issuing the Abortion Mandate.

    2. The Abortion Mandate violates the APA.

        The Abortion Mandate is final agency action subject to judicial review under the APA. See

Texas v. EEOC, 933 F.3d at 441(explaining that agency action treated as binding is reviewable as

final agency action). Though framed as guidance reminding hospitals and physicians of their

existing obligations, the agency’s characterization of its own action is not dispositive. Nat’l Min.

Ass’n v. McCarthy, 758 F.3d 243, 252 (D.C. Cir. 2014) (Kavanaugh, J.); Texas v. United States,

787 F.3d at 764 (explaining that an agency’s characterization of its own action as “guidance” or a

“policy statement” is not determinative). Courts consider whether agency action constitutes

“final agency action” with a “pragmatic approach” and “view[] the APA’s finality requirement

as flexible.” Texas v. EEOC, 933 F.3d at 441 (internal quotations omitted). In determining whether

agency action is final agency action, Courts consider whether the agency action imposes liability

for failure to comply with its demands. McCarthy, 758 F.3d at 252.

        Here, the Abortion Mandate includes several provisions that create new legal obligations

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and threaten substantial legal and monetary penalties. See id. at 253. Plaintiffs are far from free to

ignore the Abortion Mandate without consequence. Id. at 253. They risk their Medicare and

Medicaid funding as well as significant civil monetary penalties up to $119,942. 23 According to

CMS, in 2020, the United States’ total spending for Medicare and Medicaid amounted to over

$1.5 trillion. 24 Moreover, Defendants themselves are treating the Abortion Mandate as binding;

the federal government has filed suit in the District of Idaho to enforce its terms. 25

          a. The Abortion Mandate exceeds statutory authority and is not in accordance with law.

          Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” or “in

excess of statutory . . . authority, or limitations, or short of statutory right.” See 5 U.S.C.

§ 706(2)(A), (C).

          The Abortion Mandate attempts to codify a “legal duty” to perform abortions as an openly

political reaction against Dobbs. 26 But Defendants lack statutory authority to exercise “any

supervision or control over the practice of medicine or the manner in which medical services are

provided,” 42 U.S.C. § 1395, and EMTALA cannot be construed to “directly” preempt state

abortion laws. See 42 U.S.C. § 1395dd(f). As explained above, the mandate also contradicts federal

laws that prohibit Defendants from requiring physicians to perform abortions. Further, the major

questions doctrine applies. If Congress intended to confer Defendants with authority to require


23   Exh. 1 at Appx 006; 42 U.S.C. § 1395dd(d)(1); 42 U.S.C. § 1320a-7(h).
24    NHE        Fact   Sheet, CMS,     https://www.cms.gov/Research-Statistics-Data-and-
Systems/Statistics-Trends-and-Reports/NationalHealthExpendData/NHE-Fact-Sheet        (last
visited July 28, 2022).
25   See United States v. Idaho, No. 1:22-cv-329.
26   Exh. 1 at Appx. 002, 006.

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physicians and hospitals to perform abortion even where they are prohibited by State law, it would

have spoken clearly on the that subject. See West Virginia v. EPA, 142 S. Ct. 2587, 2609 (June 20,

2022). Defendants’ promulgation of the Abortion Mandate exceeded their statutory authority and

should be set aside.

          b. Defendants failed to conduct notice and comment.

          Defendants failed to conduct notice and comment as required under the Medicare-specific

notice-and-comment procedures under 42 U.S.C. § 1395hh(b), as well as the notice-and-comment

procedures under 5 U.S.C. § 553. See Texas v. Becerra, No. 5:21-cv-300-H, 2021 WL 6198109, at

*13 n.12 (Dec. 31, 2021) (Hendrix, J.) (discussing applicable precedent). Under 42 U.S.C.

§ 1395hh(b)(1), the Secretary must “provide for notice of the proposed regulation in the Federal

Register and a period of not less than 60 days for public comment thereon.” Defendants failed to

comply with this statutory requirement before promulgating the Abortion Mandate.

          Defendants could only explain their failure to conduct notice and comment by invoking one

of the exceptions in 42 U.S.C. § 1395hh(b)(2). But they have not—and they cannot. The first

exception allows for a shorter notice and comment period when another statute so authorizes. 42

U.S.C. § 1395hh(b)(2)(A). The second exception applies when “a statute establishes a specific

deadline for the implementation of a provision and the deadline is less than 150 days after the date

of the enactment of the statute in which the deadline is contained.” Id. § 1395hh(b)(2)(B). Here,

the Abortion Mandate is effective immediately.27 The final exception allows the Secretary to

bypass the Social Security Act’s notice and comment requirements by relying on the good cause

exception under the APA. 42 U.S.C. § 1395hh(b)(2)(C); 5 U.S.C. § 553(b)(B). The agency did


27   Exh. 1 at Appx. 007.

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not invoke this exception; accordingly, it is inapplicable here.

          “The essential purpose of according § 553 notice and comment opportunities is to

reintroduce public participation and fairness to affected parties after governmental authority has

been delegated to unrepresentative agencies.” Batterton v. Marshall, 648 F.2d 694, 703 (D.C. Cir.

1980). Here, the Secretary deprived the public of this opportunity without any statutory basis.

          c. The Abortion Mandate is arbitrary and capricious.

          Under the APA, a court must “hold unlawful and set aside agency action” that is “arbitrary

and capricious.” See 5 U.S.C. § 706(2)(A). An agency action is arbitrary or capricious if it fails to

“articulate a satisfactory explanation for its action including a rational connection between the

facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983).

          The Abortion Mandate was promulgated by mere executive fiat in response to the Supreme

Court’s decision in Dobbs.28 After the Dobbs decision, Secretary Becerra announced that

Americans “can no longer trust” the Supreme Court, and HHS would “be aggressive and go all

the way” to pushback against the Court’s decision. 29 As the Fifth Circuit has held, “courts have

an affirmative duty not to” “turn a blind eye to the statements” of those promulgating these

extreme mandates. BST Holdings, 17 F.4th at 614. “The reasoned explanation requirement of

administrative law . . . is meant to ensure that agencies offer genuine justifications for important

decisions, reasons that can be scrutinized by courts and the interested public. Accepting contrived


28   Exh. 1 at Appx. 002, 006.
29HHS Secretary Becerra talks women’s future with abortion following Roe v. Wade decision (NBC
NEWS broadcast June 25, 2022) https://www.nbcnews.com/video/women-s-future-with-
abortion-implementing-harm-reduction-with-addiction-142836293922, at 1:45 (last visited July
28, 2022).

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reasons would defeat the purpose of the enterprise.” Id. at 2575–76.

        The Abortion Mandate does not acknowledge the agency’s change in position from never

having previously required abortions under EMTALA; it offers no reasoned explanation of how

EMTALA can require abortions when EMTALA requires stabilizing the “unborn child”; it offers

no explanation of the interaction between its mandate and religious freedom and conscience laws;

and it discusses no alternative approaches. To the contrary, Defendants justify the Abortion

Mandate as necessary to fight the Supreme Court. More is required. See Dep’t of Homeland Sec. v.

Regents of the Univ. of California, 140 S. Ct 1891, 1911–15 (2020).

        “[W]here the agency has failed to provide even that minimum level of analysis, its action

is arbitrary and capricious and so cannot carry the force of law.” Encino Motorcars, LLC v. Navarro,

579 U.S. 211, 136 S. Ct. 2117, 2125 (2016). Courts “do not defer to the agency’s conclusory or

unsupported       suppositions,”       United     Techs.     Corp.     v.     U.S.   Dep’t   of   Def.,

601 F.3d 557 (D.C. Cir. 2010), nor are agency actions “involving an issue of deep economic and

political significance” entitled to deference, City & Cnty. of San Francisco v. Trump, 897 F.3d 1225,

1242 (9th Cir. 2018) (cleaned up). This Court cannot “supply a reasoned basis for the agencies’

actions that the agencies themselves have not given.” Id. (cleaned up). Nor can the agency’s

litigation counsel. Motor Vehicle Mfrs. Ass’n, 463 U.S. at 50 (“courts may not accept appellate

counsel’s post hoc rationalizations for agency action”).

        Further, the Abortion Mandate discusses no reliance interests by regulated entities,

especially pro-life physicians and hospitals, on never having previously been subject to an abortion

mandate under EMTALA. “Because it is generally arbitrary or capricious to depart from a prior

policy sub silentio, agencies must typically provide a detailed explanation for contradicting a prior



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policy, particularly when the prior policy has engendered serious reliance interests.” BST

Holdings, 17 F.4th at 614. Defendants provide no basis for the new mandate. Defendants provide

no evidence that violations of EMTALA precluded women from receiving emergency care.

          Defendants are hinging hundreds of billions in federal Medicare dollars on compliance with

this mandate for the sole purpose of subverting the Supreme Court’s holding in Dobbs and States’

authority to regulate abortion. 30 The Abortion Mandate must be set aside and held unlawful.

      3. Defendants’ actions violate the Constitution.

          a. Unconstitutional delegation of legislative power

          If Defendants contend that the Social Security Act’s delegation of authority to the

Secretary is so broad that it authorizes him to impose an Abortion Mandate on hospitals and

physicians as a condition of receiving Medicare funds, then the Social Security Act violates the

nondelegation doctrine because it lacks any “intelligible principle” to guide the Secretary’s

actions. See J.W. Hampton v. United States, 276 U.S. 394, 409 (1928). “In the absence of a clear

mandate” in the Social Security Act, “it is unreasonable to assume that Congress intended to give

[the Secretary of HHS] unprecedented power” over American social policy and standards of care.

See Indus. Union Dep’t, AFL-CIO v. American Petroleum Inst., 448 U.S. 607, 645 (1980). And if it

did, it would be unconstitutional under A.L.A. Schechter and Panama Refining Co. v. Ryan, 293 U.S.

388 (1935). Accordingly, if Congress wanted to delegate this legislative authority to the Secretary

of HHS through the Social Security Act—and there is no evidence that it did—then Congress’s

attempt to do so was unconstitutional.




30   See Exh. 2 at Appx. 009.

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         b. Major Questions Doctrine Applies

         Moreover, this is an issue of vast political significance to which the major question doctrine

applies. See West Virginia, 142 S. Ct. at 2614. Whether and when to permit abortions is an issue of

vast policy and political significance, as the Supreme Court explained in Dobbs. Those questions

are to be answered by the States through their elected representatives. See id. at 2626 (Gorsuch, J.,

concurring). If Congress meant to impose abortion mandates through EMTALA, the major

questions doctrine requires it to speak clearly. Indeed, that Defendants have found this purported

authority to promulgate the Abortion Mandate in EMTALA after Congress has rejected attempts

to codify a federal right to abortion demonstrates that this is an issue of vast political significance

to which the major-question doctrine applies. In West Virginia v. EPA, the Court held that it could

not “ignore that the regulatory writ EPA newly uncovered conveniently enabled it to enact a

program that, long after the dangers posed by greenhouse gas emissions had become well known,

Congress considered and rejected multiple times.” Id. at 2614 (internal quotations omitted).

Similarly, here, Congress has failed to codify a federal right to abortion, which is highly probative

of the significance of the issue and, therefore, the application of the major-questions doctrine. 31

         c. Violation of the Spending Clause

         The central concerns of Spending Clause jurisprudence are federalism and individual

liberty. See, e.g., NFIB v. Sebelius, 567 U.S. 519, 577 (2012) (“Respecting this limitation is critical

to ensuring that Spending Clause legislation does not undermine the status of the States as

independent sovereigns in our federal system. That system ‘rests on what might at first seem a


31  Senate fails to pass abortion rights bill—again, POLITICO (May 11,                          2022),
https://www.politico.com/news/2022/05/11/senate-doomed-vote-roe-abortion-rights-
00031732 (last visited July 27, 2022).

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counterintuitive insight, that freedom is enhanced by the creation of two governments, not one.’”)

(citing Bond v. United States, 564 U.S. 211, 220–21 (2011)). In this case, separation-of-powers

concerns are multiplied atop these traditional federalism and individual liberty concerns by the

Executive’s unilateral adoption of significant conditions on the recipients of federal funds because

“[t]he United States Constitution exclusively grants the power of the purse to Congress.” City &

Cnty. of San Francisco, 897 F.3d at 1231 (citing U.S. Const. art. I, § 9, cl. 7; U.S. Const. art. I, § 8,

cl.1).

         The legitimacy of an exercise of the federal spending power “rests on whether the State

voluntarily and knowingly accepts the terms of the ‘contract.’” Sebelius, 567 U.S. at 577 (citing

Pennhurst State School & Hospital v. Halderman, 451 U.S. 1, 17 (1981)). This leads courts to

“scrutinize Spending Clause legislation to ensure that Congress is not using financial inducements

to exert a ‘power akin to undue influence.’” Sebelius, 567 U.S. at 577 (citing Steward Machine Co.

v. Davis, 301 U.S. 548, 590 (1937)). When “conditions take the form of threats to terminate other

significant independent grants, the conditions are properly viewed as a means of pressuring the

States to accept policy changes.” Id. at 580.

         While Congress may condition federal funding with certain obligations, “the States must

have a genuine choice whether to accept the offer.” Id. at 588. There is no such choice here. Texas

hospitals must either accept the new condition or risk losing all Medicare, Medicaid, and other

funding. “Though Congress’ power to legislate under the spending power is broad, it does not

include surprising the States with post-acceptance or ‘retroactive’ conditions.” Pennhurst, 451

U.S. at 25. Texas could not have known that Defendants would claim a new condition on hospitals’

Medicare provider agreements that would force them to provide abortions in violation of State law.



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Texas hospitals and physicians receive approximately $16 billion per year in federal dollars for

Medicaid services. 32 The State of Texas receives approximately $30 billion per year from the

federal government to fund the Texas Medicaid program. 33 Forcing Texas hospitals and physicians

to comply with the Abortion mandate under threat of the loss of all Medicare funding is

unconstitutionally coercive; it is a gun to the head that compels them to violate State law. See

Sebelius, 567 U.S. at 580. Defendants have no authority to condition federal funding on such an

untenable choice. Pennhurst, 451 U.S. at 25. Defendants promulgated the Abortion mandate via an

unconstitutional exercise of authority, and it must be held unlawful and set aside. The Abortion

Mandate is not a valid exercise of the Spending Power; it is an ultra vires order that is not

enforceable against Plaintiffs.

          Finally, a valid exercise of the Spending Power—which the Abortion Mandate is not—can

only induce States to change their own laws. It does not preempt State law, and the Guidance’s

statement to the contrary is wrong. Non-State recipients of Medicare funds, such as local

governments and private entities, cannot change State law, and are not licensed to violate State law

just by accepting federal funds with allegedly preemptive conditions. For instance, if a condition

of Medicare funding required a non-State recipient to provide abortions in violation of Texas law,

the recipient would have a choice of (1) not taking the funds; (2) taking the funds and providing

abortions in violation of State law; or (3) taking the funds but not performing abortions in violation

of Texas law, potentially subjecting them to penalties from Defendants.




32   Exh. 3 at Appx. 013.
33   Id. at Appx. 013-014; see also 42 U.S.C. § 1396d.

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          d. Violation of the Tenth Amendment

          The powers not delegated by the Constitution to the federal government are reserved to

the States. The Supreme Court has clarified that State law governs abortion. “[T]he Constitution

does not confer a right to abortion,” “does not prohibit the citizens of each State from regulating

or prohibiting abortion,” and “return[ed] that authority to the people and their elected

representatives.” Dobbs, 142 S. Ct. at 2279, 2284.

          “[T]he regulation of health and safety matters is primarily, and historically, a matter of

local concern.” Hillsborough Cnty., Fla. v. Automated Med. Labs., Inc., 471 U.S. 707, 715 (1985).

The Supreme Court has clarified that this includes State laws regulating abortion. Dobbs, 142 S.

Ct. at 2284. Texas has a legitimate interest in the “preservation of prenatal life at all stages of

development.” Id. This interest cannot be blithely dismissed by the Defendants’ unlawful

Abortion Mandate. “Historic police powers of the States” are not superseded by federal law unless

that is “the clear and manifest purpose of Congress.” Id.; City of Columbus v. Ours Garage &

Wrecker Serv. Inc., 536 U.S. 424, 432 (2002). Congress did not authorize Defendants to promulgate

any right to an abortion. No provision of the Social Security Act authorizes Defendants to do so.

          e. Defendants’ actions violate RFRA.

          All of CMDA’s members are Christians who object to performing abortions, and many of

AAPLOG’s members have religious objections to abortions in addition to their medical and ethical

views. 34 As to CMDA and AAPLOG’s members who have religious objections, the Abortion

Mandate violates RFRA, which prohibits Defendants from imposing a substantial burden on their

religious exercise unless doing so serves the least restrictive means of advancing a compelling


34   Exh. 4–8, Appx. 015-036 (Declarations of Drs. Harrison, Barrows, Hutzler, Valley, and Foley).

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government interest. 42 U.S.C. § 2000bb-1. The sincere religious beliefs of CMDA’s and many of

AAPLOG’s members are set forth in declarations, id., and imposing massive monetary penalties

and exclusions from Medicare, Medicaid, CHIP, and other medical programs for not violating

those beliefs is undoubtedly a substantial burden on their religious exercise. See Burwell v. Hobby

Lobby Stores, Inc., 573 U.S. 682, 720 (2014).

        The Abortion Mandate fails strict scrutiny. Defendants cannot have a compelling interest

to mandate abortions because, as explained above: (1) Congress gave HHS no such power in

EMTALA, which instead protects the “unborn child” in addition to her mother; (2) EMTALA

leaves medical standards of care, necessarily including abortion, to state law, and Texas as well as

other states protect physicians’ conscience rights on abortion; and, (3) Congress prohibited federal

abortion mandates by enacting the Weldon, Coats-Snowe, and Church Amendments. By

definition, a federal agency has no compelling interest doing what Congress gave it no authority to

do. As to specific circumstances, the Abortion Mandate’s vague terms cover many elective

abortions that are not even within EMTALA much less do they pose a compelling need. For

example, the Abortion Mandate’s application to “incomplete medical abortion” is a requirement

that pro-life doctors complete abortions started elsewhere even where the child might be saved.

B.      Plaintiffs are likely to suffer irreparable harm.

        “To show irreparable injury . . . it is not necessary to demonstrate that harm is inevitable

and irreparable.” Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1986). Rather, Plaintiffs

need only demonstrate that they are “likely to suffer irreparable harm in the absence of preliminary

relief.” Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018).




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          Texas faces an imminent, irreparable, sovereign injury from the Abortion Mandate, which

purports to preempt any State law that differs from its requirements.35 Numerous courts have

made clear that preventing the State from enforcing its laws is itself an irreparable harm. See, e.g.,

Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018) (“[T]he inability to enforce its duly enacted plan

clearly inflicts irreparable harms on the State.”); Maryland v. King, 567 U.S. 1301, 1303 (2012)

(Robert, C.J.) (“Any me [a State is blocked] from effectuating statutes enacted by representatives

of its people, it suffers a form of irreparable injury.”); Org. for Black Struggle v. Ashcroft, 978 F.3d

603, 309 (8th Cir. 2020). When the State is blocked from implementing its laws, “the State

necessarily suffers the irreparable harm of denying the public interest in the enforcement of its

law.” Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th

Cir. 2013); Coal. for Econ. Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997).

          AAPLOG and CMDA’s members are forced by the Abortion Mandate to choose between,

on the one hand, continuing to care for women as they have always done and facing crippling fines

from HHS and exclusion from Medicare, Medicaid, CHIP, and effectively all hospital practice, or

on the other hand, violating their religious and moral beliefs and risking prosecution for committing

elective abortions that may be illegal under state law. AAPLOG and CMDA need injunctive relief

to protect all their members from this threat, both in Texas and other States. The loss of individual

liberty and the trampling of religious freedom cannot be remedied. Simply put, if the Abortion

Mandate is permitted to go into effect, the State of Texas’s sovereignty will be affronted, and

Plaintiffs’ rights will be forever diminished.




35   Exh. 1 at Appx. 003.

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C.       The balance of the equities and public interest favor preliminary injunctive relief.

         When governmental action is implicated, the third and fourth factors merge. Nken v.

Holder, 556 U.S. 418, 435 (2009). To preserve the relative positions of the parties until a trial on

the merits, federal courts regularly enjoin federal agencies from implementing and enforcing new

regulations pending litigation challenging them. Texas v. United States, 787 F.3d 733. Here, the

status quo since Congress enacted EMTALA has been no Abortion Mandate. Defendants should

not be permitted to upset that status quo by purportedly finding new provisions in the law.

         An injunction promotes and protects the public interest by avoiding the myriad harms that

Defendants’ lawlessness will bring. Texas physicians will be protected from having to choose

between their employment and risking their medical licenses. Unborn children will be protected

by Texas’s abortion laws. Hospitals and physicians will be protected from the coercive threat of

substantial penalties or violating State law. “The public interest is also served by maintaining our

constitutional structure,” giving Texas law its full due. BST Holdings, 17 F.4th at 618.

         The balance of the equities and the public interest favor the intervention of the Court to

preserve the status quo. 36

                                          III.    CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court enjoin Defendants

from implementing and enforcing the Abortion Mandate.




36Because the injunctive relief requested would serve the public interest, Plaintiffs ask the Court
to exercise its discretion to not require a security or bond under Fed. R. Civ. P. 65(c). See City of
Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094 (5th Cir. 1981).

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                                       CERTIFICATE OF SERVICE

      We certify that a true and accurate copy of the foregoing document was filed electronically
via CM/ECF and is being sent via CMRRR to Defendants.

                                         /s/ Amy S. Hilton        /s/ Ryan Bangert
                                         Amy S. Hilton            Ryan Bangert




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